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VAPOR CORP.
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
RUYAN INVESTMENT (HOLDINGS) Case No. 2:l2-cv-5466-GAF-FFM
LIMITED, a British Virgin Islands Company,
Plaintiff, DECLARATION OF HARLAN PRESS IN
SUPPORT OF DEFENDANT’S MOTION
vs. TO TRANSFER
VAPOR CORP., a Nevada Corporation, Hon. Gary A. Feess
Hearing Date: September 10, 2012
Defendant. Time: 9:30 a.m.

Location: 740 Roybal

 

 

l, Harlan Press, declare under penalty of perjury that the following is true and correct:

l. I am the ChiefFinancial Officer of defendant Vapor Corp. (“Vapo r”). I have
personal knowledge of the matter stated herein, and if called upon to do so, l could and would
competently testify hereto.

2. Vapor is a publicly traded company incorporated under Nevada law with its
principal place of business in Dania Beach, Florida. The complaint in this case erroneously alleges
that Vapor is a California corporation Attached as EX. l is a true and correct copy of public
records from the Nevada Secretary of State showing that Vapor is incorporated under the laws of

Nevada.

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DECLARATION oF HARLAN PRESS

 

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3. My understanding is that Ruyan is a foreign corporation headquartered in Hong
Kong. My understanding is that Ruyan’s inventor and other fact Witnesses are located outside the
United States, in Hong Kong. (See, e.g., Ex. 2).

4. Vapor does not have any offices, officers, employees or documents located in
California. Vapor’s witnesses and documents in this case will be found in Florida, not California.

5. All business decisions by Vapor regarding the products accused of infringing the
patent-in-suit were made in the Southern District of Florida.

6. The Southern District of Florida is a more convenient forum than the Central
District of Florida would be for hearing this case.

l declare under penalty of perjury under the laws of the United States of Arnerica that the
foregoing is true and correct

Executed on August 2, 2012 at Dania Beach, Florida.

/n\/\£q

Harlan Press

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